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                         UNITED STATES BANKRUPTCY COURT
                      GEORGE C. YOUNG FEDERAL COURTHOUSE
                      400 WEST WASHINGTON STREET, SUITE 5100
                                 ORLANDO, FL 32801

In re:
                                                     Case No. 6:17-bk-00294-KSJ
CATHERINE ECKLEY BENTLEY,                            Chapter 7
Debtor.
_____________________________
SUSAN KOLB, M.D.,                                   Adv. No. 6:17-ap-00047-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
ROBERT E. THOMAS,                                   Adv. No. 6:17-ap-00048-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________
SUSAN KOLB, M.D.,                                   Adv. No. 6:17-ap-00119-KSJ
Plaintiff,

v.

CATHERINE ECKLEY BENTLEY,
Defendant.
______________________________/

           DEBTOR’S NOTICE OF SELF-AUTHENTICATING DOCUMENTS

         COMES NOW the Defendant/Debtor, CATHERINE ECKLEY BENTLEY, by and

through the undersigned attorney, and gives notice that at trial Defendant/Debtor intends to

introduce into evidence under Fed. R. Evid. 902 the following self-authenticated documents:

     (A) Medical Records from Florida Health Care Plans, 1340 Ridgewood Avenue, Holly Hill,
         FL 32117;
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   (B) Order Determining Total Incapacity;

   (C) Order Appointing Plenary Guardian of Person and Property;

   (D) Report of Member of Examining Committee (Dr. Janet Boes, Ph.D/Gerontologist)

   (E) Report of Member of Examining Committee (Dr. Karl G. Seig, M.D., FAPA, MRO)

   (F) Report of Member of Examining Committee (Dr. Delwin Pitzer, Psy.D.)

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by electronic transmission, if registered in the Electronic Case Filing System, otherwise by U.S.
Mail: U.S. Trustee, Chapter 7 Trustee, Synchrony Bank, Walmart, County of Volusia, Synovus
Bank, counsel for Trustee and creditor Susan Kolb, Esther McKean, this 5th day of July, 2018.


                                                            /s/ Anna Handy
                                                            ___________________________
                                                            Anna Handy, Attorney for Debtor
                                                            Florida Bar No.: 0119532
                                                            Anna Handy Law Firm, P.A.
                                                            P.O. Box 730083
                                                            Ormond Beach, FL 32173
                                                            Telephone: 386-248-3000
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